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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 JORGE ROJAS, on behalf of himself and all        Civil Case No.: 25-CV-01056
 others similarly situated,

                       Plaintiff,
        v.

 CLEAR CREDIT AI, LLC

                       Defendant.

         NOTICE OF WITHDRAWAL OF MOTION TO AMEND COMPLAINT

        Plaintiff, Jorge Rojas, by and through the undersigned counsel, provides notice that he is

respectfully withdrawing his motion to amend the complaint. Plaintiff intends to file a new motion

and proposed amended complaint, incorporating new evidence, by the end of the week.

Date: June 8, 2025


                                             /s/ Andrew Roman Perrong
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                                     Attorneys for Plaintiff and the Proposed Class
     Case: 1:25-cv-01056 Document #: 15 Filed: 06/08/25 Page 2 of 2 PageID #:55




                                CERTIFICATE OF SERVICE

       We certify that we filed the foregoing via ECF on the below date, which will

automatically send a copy to all attorneys of record on the case.


Dated: June 8, 2025

                                              /s/ Andrew Roman Perrong
                                              Andrew Roman Perrong, Esq.
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